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UNITED STATES DISTRICT COURT | ELECTRONICALLY FILED}
SOUTHERN DISTRICT OF NEW YORK |

 

 

JAENEAN LIGON, e7 al., individually and on behalf of a
class of all others similarly situated;

Plaintiffs,

- against - 12 Civ. 2274 (AT)

THE CITY OF NEW YORK, et al;
Defendants.

 

 

STIPULATION OF SETTLEMENT AND ORDER

WHEREAS, on March 28, 2012, plaintiffs in the above-captioned action filed a
Complaint pursuant to 42 U.S.C. § 1983; the Fourth and Fourteenth Amendments to the United
States Constitution; the Constitution and laws of the State of New York; and

WHEREAS, beginning on October 15, 2012, the Court held a hearing on plaintiffs’
motion for a preliminary injunction; and

WHEREAS, in a January 8, 2013 Opinion and Order, subsequently amended on
February 14, 2013, the Court granted the plaintiffs’ motion for a preliminary injunction,
proposed entering several forms of preliminary relief, and postponed ordering that relief until
after a consolidated remedies hearing could be held in the instant matter and the related case of
Floyd, et al. v. City of New York, 08 Civ. 1034 (AT); and

WHEREAS, on February 11, 2013, pursuant to Rule 23(b)(2) of the Federal Rules of
Civil Procedure, the Court certified a preliminary injunction class defined as follows: All
individuals who have been or are at risk of being stopped outdoors within the vicinity of Bronx

apartment buildings enrolled in the NYPD’s Trespass Affidavit Program (also referred to as

 
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“Operation Clean Halls”) without legal justification by NYPD officers on suspicion of
trespassing in said buildings; and

WHEREAS, in an August 12, 2013 Opinion and Order in the instant matter and the
related case of Floyd, et al. v. City of New York, 08 Civ. 1034 (AT), the Court imposed a final
order of preliminary injunction and ordered several forms of preliminary relief; and

WHEREAS, the terms of this Stipulation of Settlement and Order (“Stipulation”) were
extensively and vigorously negotiated in good faith over a period of several months; and

WHEREAS, the negotiations have resulted in this Stipulation which, subject to the
approval of the Court, fully resolves this action in the manner and upon the terms set forth
below;

NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and

between the undersigned, as follows:

A. INTRODUCTION

1, The Parties enter into this Stipulation after arm’s length good faith negotiations
for the purpose of avoiding the burdens of further litigation and to mutually support vigorous,
lawful, and nondiscriminatory enforcement of the law. Settlement of this action under the terms
stated in this Stipulation is in the public interest as it avoids further diversion of private and City
resources to adversarial action by the Parties.

2. Defendants deny any and all liability and deny that they had or have a policy or
engaged in or currently engage in a pattern or practice of conduct that deprived persons of rights,
privileges, or immunities secured or protected by the Constitution and laws of the United States.

3. This Stipulation does not, and shall not be deemed to, constitute an admission by

Defendants as to the validity or accuracy of any of the allegations, assertions, or claims made by

 
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Plaintiffs. This Stipulation does not constitute an admission, adjudication, or finding on the
merits of the above-captioned action.

4. This Court has jurisdiction over this action under 28 U.S.C. §§ 1331 and 1343.
Venue is proper in the United States District Court for the Southern District of New York
pursuant to 28 U.S.C. § 1391.

B. DEFINITIONS

lL, “Stipulation” shall mean this Stipulation of Settlement and Order executed by the

Parties in the above-captioned action.

2. “Parties” shall mean Named Plaintiffs and Defendants.
3. “Plaintiffs” shall mean the Named Plaintiffs and Settlement Class, defined below.
4. “Named Plaintiffs” shall mean Plaintiffs Jaenean Ligon, Jerron Grant, Fawn

Bracy, William Bracy, Jacqueline Yates, Letitia Ledan, Roshea Johnson, Jovan Jefferson, Kieron
Johnson, Angel Ortiz, Fernando Moronta, Abdullah Turner, and Charles Bradley.

5. “Settlement Class” shall mean the class of plaintiffs agreed upon by the Parties,
described in Paragraph C (2), infra.

6. “Class Counsel” shall mean the attorneys of record in the above-captioned action.

7. “Defendants” shall mean the City of New York, William Bratton, J ohnny Blasini,
Gregory Lomangino, Joseph Koch, Kieron Ramdeen, Joseph Bermudez, Miguel Santiago, and

John Does 1-12.

8. “City” shall mean the City of New York.

9. “NYPD” shall mean the New York City Police Department.

10. “TAP Buildings” shall mean any apartment buildings enrolled in a Trespass
Affidavit Program.

 
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11. “Trespass Affidavit Program” or “TAP” shall mean any program through which
NYPD officers gain permission to patrol in and around privately-owned residential apartment
buildings for the purpose of combating criminal activity.

12. “PG 212-59” shall mean NYPD Patrol Guide 212-59, which instructs NYPD
officers on the proper performance of interior patrols in TAP Buildings, defined in Paragraph B
(10), above.

13. “Floyd/Ligon Remedial Order” shall mean the joint Opinion and Order in Floyd v.
City of New York, No. 08 Civ. 1034 and this case, dated August 12, 2013 (ECF 120), as modified
by the Order Modifying Remedial Order, dated July 30, 2014 (ECF 198).

14. “Court-Ordered Monitoring” shall mean the oversight by a monitor appointed by
the Court, of the implementation of the standards and remedies described herein, and of remedies
that will be developed by such monitor pursuant to Sections I and J of this Stipulation and/or in
the Joint Remedial Process described in the Floyd/Ligon Remedial Order.

15. “Substantial Compliance” shall mean both compliance with all material aspects of
the reforms pertaining to the above-captioned action arising from the recommendations of the
Court-Ordered Monitoring, which shall be measured using milestones to be set in the Court-
Ordered Monitoring, and the reforms required by this Stipulation. Noncompliance with mere
technicalities, or temporary failure to comply during a period of otherwise sustained compliance
will not constitute a failure of Substantial Compliance. However, temporary compliance during
a period of otherwise sustained non-compliance shall not constitute Substantial Compliance.

16. “Preliminary Approval Date” shall mean the date on which the Court endorses

this Stipulation.

 
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17. “Dismissal Date” shall mean the date on or shortly after the Final Approval Date,
defined below, on which the District Court dismisses the case with prejudice.

18. “Effective Date” shall mean (30) days after the “Dismissal Date,” following the
“Final Approval Date,” defined below, and shall also be the date upon which this Stipulation
enters into effect, subject to Paragraph N (5).

19. “Final Approval Date” shall mean the date on which this Court approves this
Stipulation and Order, following a fairness hearing.

C. SETTLEMENT CLASS REGARDING ENFORCEMENT PRACTICES IN AND
AROUND TAP BUILDINGS

1. On February 11, 2013, pursuant to Rule 23 (b) (2) of the Federal Rules of Civil
Procedure, the Court certified a class defined as follows: All individuals who have been or are at
risk of being stopped outdoors within the vicinity of Bronx apartment buildings enrolled in the
NYPD’s Trespass Affidavit Program (commonly referred to as “Operation Clean Halls”) without
legal justification by NYPD officers on suspicion of trespassing in said buildings.

2. Plaintiffs and the City hereby agree to certification of a Settlement Class which is
defined as follows: All individuals who have been or are at risk of being stopped, frisked.
arrested, searched, or issued a summons inside or outdoors within the vicinity of apartment
buildings enrolled in a Trespass Affidavit Program—defined as any program through which
NYPD officers gain permission to patrol in and around privately-owned residential apartment
buildings for the purpose of combating criminal activity—without legal justification by NYPD
officers on suspicion of trespassing in said buildings.

3. The Named Plaintiffs and the City agree that the Named Plaintiffs shall serve as
class representatives of the Settlement Class. The Plaintiffs and the City further agree that Class

Counsel shall serve as counsel to the Settlement Class.

 
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4. To effectuate the agreement of the Named Plaintiffs and the City regarding the
certification of the Settlement Class, they agree that the Class Counsel will submit to the Court a
motion on consent of the Defendants, seeking certification of the Settlement Class at the time
this Stipulation is submitted to the Court for approval.

D. MUTUAL AGREEMENT OF PRINCIPLES

1. The Parties agree that TAP Building residents and their authorized visitors have
the same legal rights as the residents and authorized visitors of any other residential building in
New York City, and deserve the utmost courtesy and respect during their interactions with
NYPD officers.

2. The Parties agree that the further development of cooperative and trusting
relationships between NYPD officers and TAP Building residents facilitates effective policing,
and that negative interactions between NYPD officers and TAP Building residents and their
authorized visitors can have a long-lasting, harmful impact on those relationships.

3. The Parties agree that the secured access of building entryways and effective
policing within the building are necessary to maintain the safety and security of TAP Buildings.

4, The Parties agree that in performing patrols in or around TAP Building
residences, the NYPD’s primary role is to provide a safe and secure living environment for TAP
Building residents and their guests.

5. The Parties agree that the proper enforcement of New York State trespass law is
an important component of the maintenance and security of TAP Buildings.

6. The Parties agree that the enforcement of New York State trespass law must, at all

times, comply with the U.S. Constitution and all other relevant state and federal laws.

 
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7. The Parties agree that it is imperative to have policies and procedures to prevent
TAP Building residents and their authorized guests from being subjected to requests for
information without objective credible reasons, accusatory questions without a founded
suspicion that criminal activity is afoot, stops or detentions without reasonable suspicion, or
arrests or summonses without probable cause.

8. The Parties agree that proper and sufficient training, supervision, monitoring, and
disciplining of NYPD officers are necessary to prevent unlawful stops, arrests and/or summonses
in or around TAP Buildings.

E. NYPD ENFORCEMENT ACTIVITIES IN AND AROUND TAP BUILDINGS
1, The NYPD shall develop, adopt and implement the standards regarding enforcement
activities in and around TAP Buildings set out below in Paragraphs E (1)(a-m) and shall
implement policies and procedures, training, supervision, and monitoring programs sufficient to
consistently follow, apply, and use those standards:

a. NYPD officers must have at least an “objective credible reason” to approach a

person in or around a TAP Building to initiate a Level 1 encounter, as defined in
People v. DeBour, 40 N.Y.2d 210 (1976), and its progeny. A person’s mere
presence in or near, entry into, or exit out of a TAP Building does not constitute
an objective credible reason to approach;

b. NYPD officers who request information from any person in or around a TAP
Building, during a Level 1 encounter, must not question that person in an
accusatory manner, or create a situation (either by words or actions) that would
cause a reasonable person to believe that s/he cannot terminate the encounter and

walk away;

 
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NYPD officers must have a “founded suspicion” to approach a person in or
around a TAP Building to engage in a Level 2 encounter, as defined in People v.
DeBour, 40 N.Y.2d 210 (1976), and its progeny. A person’s mere presence in or
near, entry into, or exit out of a TAP Building does not constitute founded
suspicion of criminality;
NYPD officers engaged in a Level 2 encounter may ask a person in or around a
TAP Building pointed or accusatory questions, but officers may not detain a
person or otherwise create a situation (by words or actions) where a reasonable
person would believe that s/he cannot terminate the encounter and walk away ;
NYPD officers must have “reasonable suspicion” of a felony or Penal Law
misdemeanor to conduct a Level 3 stop within the meaning of People v. DeBour,
40 N.Y.2d 210 (1976), and its progeny. or a stop within the meaning of Terry v.
Ohio, 392 U.S. 1 (1968), and its progeny, in or around a TAP Building;
The following circumstances, or any combinations thereof, are insufficient to
constitute “reasonable suspicion:”
i. a person’s mere presence in or near, entry into, or exit out of a TAP
Building;
li. a person’s silence or refusal to provide information or identification
when questioned by the police; or
iil. a person’s passing through a door of a TAP Building that has a broken
lock or that has been propped open;
NYPD officers must complete a standardized form to document every Level 3

stop conducted in or around a TAP Building. For as long as the NYPD requires

 
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officers to complete the Stop Report, PD 383-151 (03-16), under Docket Entry
No. 247, attached as Exhibit A, or its electronic equivalent, to document the
circumstances of stops, NYPD officers must complete that form for every Level 3
stop conducted in or around a TAP Building:

If the NYPD adopts a different written report documenting the circumstances of
stops, NYPD officers must complete a report for every Level 3 stop conducted in
or around a TAP building, or its electronic equivalent, that records basic
information, including the following: whether the stop occurred inside or outside
the TAP building; the crime suspected by the officer when the stop was initiated:
the stop location; the time and duration of the stop; the length of any prior
observation of the stopped individual, if any; the factors that contributed to
suspicion of the stopped person; actions taken to stop and/or detain the person
prior to arrest; whether the stopped individual was ultimately frisked, searched,
summonsed or arrested; whether other individuals were stopped during the same
investigative encounter; whether the reason for the stop was explained to the
stopped individual; demographic information about the individual stopped,
including race, sex, and age; the identification produced by the stopped
individual, if any was provided; information about any contraband or weapons
recovered during the stop; and identifying information regarding the officer who
conducted the stop. This report must also include a narrative section where the
officer must record, in sum and substance, in his/her own words, the basis for the

stop, and separately explain in sum and substance, why a pat down, frisk or search

 
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was performed, if those actions occurred, and the basis for believing the person

was armed and dangerous.

NYPD officers must have “probable cause” of criminal activity in order to make

an arrest of any person in or around a TAP Building and NYPD officers must

have “probable cause” of non-criminal violations committed in their presence or

of criminal activity in order to issue a summons to any person in or around a TAP

Building;

NYPD officers must complete a Trespass Crimes Fact Sheet (PD 351-144), under

Docket Entry No. 249, attached as Exhibit B, or its electronic equivalent, for

every trespass arrest made in or around a TAP Building prior to the arraignment

of the defendant in the criminal case in order to document the circumstances

leading to the officer’s encounter with the defendant, the officer’s investigation

into the defendant’s authority to be present in the building, any statements made

by the defendant, the basis of the officer’s belief that the defendant did not have

authority to be present in the building, and any arrest evidence or contraband

recovered by the officer;

With the exception of consent frisks, no NYPD officer shall conduct a frisk of a

person encountered in or around a TAP Building, unless the officer reasonably

suspects that the person encountered is armed and dangerous, and such frisk

extends no further than is necessary for the discovery of suspected weapons;

With the exception of consent searches, no NYPD officer shall conduct a search

extending beyond a frisk of a person, encountered in or around a TAP Building,

unless the officer is conducting a search incident to arrest, or a search of an area

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that was frisked by an officer, and that frisk revealed an object that the officer
reasonably believed to be a weapon;

m, If NYPD officers establish posts inside or near the entrances of TAP buildings,
they may conduct investigative encounters of the vast majority of the persons who
enter or exit such buildings. only if the officers have an objective credible reason
for each person the officer engages in a Level 1 encounter, or founded suspicion
for each person the officer engages in a Level 2 encounter, or reasonable
suspicion for each person the officer engages in a Level 3 encounter.

F. REVISIONS TO NYPD PATROL GUIDE

1. Plaintiffs and the City have extensively negotiated the terms of Section 212-59 of
the NYPD’s Patrol Guide and have agreed to revisions that will promote constitutional
interactions between NYPD officers and persons encountered during interior patrols in TAP
Buildings. The revised provisions are as specified in the 5-20-16 PG 212-59 AND PG 208-03
Draft Interim Order approved by the Court, under Docket Entry No. 249, and attached as Exhibit
C to this Stipulation.

2. If it has not already done so, the NYPD shall promulgate the revised version of
PG 212-59 within 30 days of the Final Approval Date. The revised version of PG 212-59 shall
take effect upon promulgation.

3. With the exception of formatting changes that are non-substantive, if the NYPD
wishes to amend PG 212-59 or to replace it entirely with a different written policy during the
Court-Ordered Monitoring period, it shall first submit any such revision or alternative policy to
Class Counsel and the Monitor, and provide them 14 days to comment. After the Court-Ordered

Monitoring period concludes, but before this Court’s jurisdiction in this matter terminates, with

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the exception of formatting changes that are non-substantive, if the NYPD wishes to amend PG
212-59 or to replace it entirely with a different written policy, it shall first submit any such
revision or alternative policy to Class Counsel and provide them 14 days to comment. If the
NYPD makes formatting changes that are non-substantive to PG 212-59, it must provide a copy
of the revised version of PG 212-59 to Class Counsel within 14 days. Any amended policy or
substitute policy must comply with the principles and standards set forth in Section E of this
Stipulation.
G. FORMS/REVISIONS TO TRESPASS CRIMES FACT SHEET

1. When NYPD officers effect an arrest for trespass in or around a TAP building, the
officers shall complete NYPD’s Trespass Crimes Fact Sheet, or its electronic equivalent, prior to
the arraignment of the defendant in the criminal case.

2. The revised version of the Trespass Crimes Fact Sheet, to which both Plaintiffs
and the City agree, is attached to this Stipulation as Exhibit B.

3. If it has not already done so, the NYPD shall promulgate and begin using the
Trespass Crimes Fact Sheet within 30 days of the Final Approval Date.

4, With the exception of formatting changes that are non-substantive, if the NYPD
wishes to amend the Trespass Crimes Fact Sheet or to replace it entirely with a different form
during the Court-Ordered Monitoring period, it shall first submit any such revisions or
alternative form to Class Counsel and the Monitor and provide them 14 days to comment. After
the Court-Ordered Monitoring period concludes, but before this Court’s jurisdiction in this
matter terminates, with the exception of formatting changes that are non-substantive, if the
NYPD wishes to amend the Trespass Crimes Fact Sheet or to replace it entirely with a different

form, it shall first submit any such revision or alternative form to Class Counsel and provide

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them 14 days to comment. If the NYPD makes formatting changes that are non-substantive to
the Trespass Crimes Fact Sheet, it must provide a copy of the revised version of the Trespass
Crimes Fact Sheet to Class Counsel within 14 days. Any amended form must comply with the
principles and standards set forth in Paragraph E(1)(j) of this Stipulation.

5. With the exception of formatting changes that are non-substantive, if the NYPD
wishes to amend the Stop, Question and Frisk Worksheet, which may also be referred to as a
Stop Report or “UF 250,” or replace it entirely with a different form during the Court-Ordered
Monitoring period, it shall first submit any such revision or alternative form to the Class Counsel
and the Monitor and provide them with 14 days to comment. After the Court-Ordered
Monitoring period concludes, but before this Court’s jurisdiction in this matter terminates, with
the exception of formatting changes that are non-substantive, if the NYPD wishes to amend the
report used to document stops in or around TAP Buildings with a different form, it shall first
submit any such revision or alternative form to Class Counsel and provide them with 14 days to
comment. Ifthe NYPD makes formatting changes that are non-substantive to the report used to
document stops, it must provide a copy of the revised version of such report to Class Counsel

within 14 days. Any amended or substitute form must satisfy the requirements of Paragraph E

(1)(g).

H. REVISIONS TO NYPD ADMINISTRATIVE GUIDE PROCEDURE 303-27,
“TRESPASS AFFIDAVIT PROGRAM”

1. Plaintiffs and the City have extensively negotiated the terms of the NYPD
Administrative Guide Procedure 303-27, entitled “Trespass Affidavit Program” and have agreed
to revisions to ensure proper administration of TAP. The revised version of the NYPD

Administrative Guide Procedure 303-27 entitled “Trespass Affidavit Program”, to which both

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Plaintiffs and the City agree, is as specified in the 8-4-16 Draft Interim Order attached as Exhibit

D to this Stipulation.

2.

Pursuant to the revisions to the NYPD Administrative Guide procedure 303-27

entitled “Trespass Affidavit Program,” the NYPD agrees to consistently follow, apply, and use

the following standards:

a.

The NYPD shall not initially enroll a building in TAP, unless there have been
recent incidents, including but not limited to, criminal activity and/or complaints
at or near a residential multiple dwelling building in the preceding 12 months, and
the building’s owner or owner's authorized agent indicates in substance, the
following: that he or she will conspicuously post signs indicating that trespassing
is prohibited and that only residents and invited guests are authorized to be inside
the building, and that the building’s owner or owner's authorized agent will
communicate to all tenants and management personnel that police officers will be
periodically entering and patrolling the building;

Before the expiration of a building’s first six months in TAP, the precinct Crime
Prevention Officer, or another Member of Service designated by the Commanding
Officer, will evaluate whether to renew a building’s participation in the program
for another six months, based on recent incidents, including but not limited to
criminal activity and complaints in the preceding six months;

Before the expiration of a building’s second consecutive six months in TAP, the
precinct Commanding Officer will determine whether to renew a building’s

participation in the program for another six months, based on recent incidents,

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including but not limited to criminal activity and complaints in the preceding six
months.

d. The Office of the Borough Commander must be notified when it has been

determined that there is a need for a building to remain in TAP beyond one year.
If the Borough Commander determines that a building should remain in TAP
beyond one year, the Borough Commander shall make a recommendation to the
Office of the Chief of Patrol, which will issue final approval for the renewal.

3. The NYPD shall promulgate the revised version of the NYPD Administrative
Guide Procedure 303-27 entitled “Trespass Affidavit Program” within 30 days of the Final
Approval Date.

4. With the exception of formatting changes that are non-substantive, if the NYPD
wishes to amend NYPD Administrative Guide Procedure 303-27 or the TAP Owner’s Affidavit
Form 651-51 or to replace either document entirely with a different written policy or form,
during the Court-Ordered Monitoring period, it shall first submit any such revision or alternative
policy to Class Counsel and the Monitor and provide them with 14 days to comment. After the
Court-Ordered Monitoring period concludes, but before this Court’s jurisdiction in this matter
terminates, with the exception of formatting changes that are non-substantive, if the NYPD
wishes to amend NYPD Administrative Guide Procedure 303-27 or the TAP Owner’s Affidavit,
or replace either document entirely, it shall first submit any such revision or alternative policy or
form to Class Counsel and provide them 14 days to comment. If the NYPD makes formatting
changes that are non-substantive to NYPD Administrative Guide Procedure 303-27 or the TAP

Owner’s Affidavit Form 651-51, it must provide a copy of the revised version of the document to

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Class Counsel within 14 days. Any amended policy, substitute policy, or form must comply with

the standards identified in Paragraphs 2(a) — (d) of this section.

I. TRAINING

1, The NYPD will ensure that every member of the NYPD who engages in
enforcement activity in or around TAP Buildings receives training in the standards identified in
Section E of this Stipulation. This training and a timeline for its implementation will be
developed through the Court-Ordered Monitoring process and will incorporate various forms of
training content into the NYPD’s recruit, in-service, and promotional training programs. Such
training may include written material, role play scenarios, video programs, and other appropriate
methods that reflect the standards identified in Section E of this Stipulation.

2. The NYPD will ensure that every member of the NYPD who is involved in the
administration of TAP is trained on the standards identified in Section H of this Stipulation. This
training, and a timeline for its implementation, will be developed through the Court-Ordered
Monitoring process.

3. Following promulgation of the revised training materials discussed in Paragraphs
I(1) and (2), if the NYPD wishes to amend the training or to replace it entirely during the Court-
Ordered Monitoring period, it shall first submit any such revisions or alternative materials to
Class Counsel and the Monitor, and provide them 14 days to comment. After the Court-Ordered
Monitoring period concludes, but before this Court’s jurisdiction in this matter terminates, if the
NYPD wishes to amend or to replace entirely, any of the revised training materials discussed in
Paragraphs I(1) and (2), it shall first submit any such revision or alternative materials to Class
Counsel and provide them 14 days to comment. Any such revised training materials must reflect

the standards identified in Section E of this Stipulation.

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J. ADDITIONAL REFORMS AND COURT-ORDERED MONITORING

1. Plaintiffs and the City stipulate that changes to the NYPD’s training, supervision,
auditing, monitoring, and discipline of officers, regarding stops and arrests made on suspicion of
trespassing in TAP Buildings, summonses issued on suspicion of trespassing in TAP Buildings,
and compliance with procedures for TAP Administration, identified in Section H, will be
addressed as part of the Court-Ordered Monitoring ordered by the Court in the Floyd/Ligon
Remedial Order, through the development of reforms, in addition to those specified in this
Stipulation. However, the parties agree that with regard to compliance with the procedures for
TAP Administration, the duration of the monitoring will conclude | year after the Effective Date
provided the NYPD is in substantial compliance. The Monitor shall not have the authority to
recommend changes to Exhibits C and D, which will be promulgated by the NYPD pursuant to
Sections F and H above, unless those changes concern training, supervision, monitoring, and
discipline of officers.

2. The terms and provisions of the Floyd/Ligon Remedial Order, including but not
limited to, the provisions specifying the Monitor’s role and functions and the duration of the
Court-Ordered Monitoring, are incorporated in full into the above-captioned case for the purpose
of enforcing this Stipulation as it pertains to reforms to the NYPD’s policies and practices
regarding trespass enforcement in or around TAP Buildings, including training, supervision,
auditing, monitoring, and discipline of officers. The Parties stipulate that, for the purposes of
resolving Plaintiffs’ claims in the above-captioned action, the Court-Ordered Monitoring in this
action shall end when the Court-Ordered Monitoring ends in the Floyd action, assuming

substantial compliance in this action as defined in section B (15) of this Stipulation.

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3. After the termination of Court-Ordered Monitoring, a second remedial phase of
this action shall commence. During the second remedial phase of this action, Class Counsel
shall review compliance with this Stipulation. During the second remedial phase of this action,
the City shall provide to Class Counsel, the NYPD documents, data, and records described in
section M(1) of this Stipulation. Any information, documents, data and records provided
pursuant to this agreement, not otherwise publically available, shall not be used by Class Counsel
to aid or commence the prosecution of any other litigation and shall not otherwise be publicly
disclosed except in court filings in this action. The Defendants do not waive or limit in any
manner, any rights, privileges or defenses relating to their production of documents, data, and
information. The second remedial phase of this action shall continue until the Court's
jurisdiction terminates, for the purposes of reviewing, enforcing and ensuring compliance with
this Stipulation, with the understanding that any pending fee motion or any other ancillary matter
pending before the Court shall not be deemed to extend the City’s obligation to produce
information, documents, data, or records under this section. Any dispute regarding document
production under this section shall be resolved by the Court.

4, All orders issued by the Court in connection with the Floyd/Ligon Remedial
Order related to trespass enforcement, have full force and effect in the above-captioned action.
The orders of the Court concerning the process by which the Court addresses the Monitor’s final
recommendations, including the orders dated February 3, 2015 (ECF 206) and April 27, 2015

(ECF 231), also have full force and effect in the above-captioned action.

K. INDIVIDUAL DAMAGES

l. The City has agreed to pay damages to the Named Plaintiffs totaling two-hundred

thirty-five thousand dollars ($235,000), to settle their individual claims.

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2. The Plaintiffs and City agree that each Named Plaintiff will sign and execute a
Release and an Affidavit Regarding Status of Liens. The failure of an individual plaintiff to
execute any of the aforementioned documents will result in non-payment of damages to that
Named Plaintiff, but will not otherwise affect the operation of this Stipulation or the rights of any

other Named Plaintiff or member of the Settlement Class.

L. ATTORNEYS’ FEES AND COSTS

L. The City has agreed to pay attorneys’ fees totaling two-million, five-hundred
eighty-five thousand, one-hundred and one dollars ($2,585,101) and costs and expenses totaling
fifty-five thousand, four-hundred thirty-two dollars ($55,432) for attorney time and expenses
incurred through June 30, 2016. Class Counsel represents that they are authorized to receive
payment on behalf of the Plaintiffs in full satisfaction of all claims for attorney’s fees, costs and
expenses, in, arising from, or in connection with this action, from the beginning of time through
and until June 30, 2016. Class Counsel agree that payment shall be made by a single check made
to New York Civil Liberties Union Foundation.

2. The City shall also pay reasonable attorneys’ fees and costs to Class Counsel for
time and expenses incurred in this matter, from July 1, 2016, until Court jurisdiction in this
matter terminates. During this period, Class Counsel agrees to submit to the City for
reimbursement a single joint application for all fees, costs, and expenses for all attorneys and
paralegals incurred between January | and June 30 and between July 1 and December 30, with
the submissions being made by July 15 for the first half of the year and by February 15 for the
second half. Class Counsel agrees to engage in good-faith discussions and negotiations, if
applicable, concerning the associated fees and costs, and further agrees to provide the City with

additional information and/or documentation upon request, concerning the associated fees and

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expenses that would reasonably assist the City in its review process. After the City has received
the requisite documents and information, has had sixty (60) days to review and engage in any
necessary good-faith negotiations, the Class Counsel may then submit the associated fee demand
to the Court if a dispute remains between the parties. Any dispute over fees and costs shall be
adjudicated by the Court. The City reserves its right to object to any application for such fees
and costs. Alternatively, if the parties are able to resolve a request for fees and costs by Class

Counsel, the parties shall submit a stipulation regarding the request to the Court for approval.

M. NYPD DOCUMENT MAINTENANCE AND DISCLOSURE

1. During the duration of this Stipulation, including both the Court-Ordered
Monitoring phase and the second remedial phase of review (as described in Section J(3) of this
Stipulation), the NYPD shal! maintain all records, including but not limited to documents and
data, that document its compliance or non-compliance with all remedies specified directly by or
incorporated into this Stipulation. In addition, for the duration of this Stipulation, the NYPD
shall maintain all records regarding any investigation of misconduct relating to any complaint
pertaining to a stop, summons, and/or arrest for suspicion of trespass on TAP Buildings, as well
as disciplinary files maintained in conjunction therewith.

2. The City shall disclose to Class Counsel and the Monitor during the Court-
Ordered Monitoring any information related to the Court-Ordered Monitoring that the Monitor
determines should be disclosed to Class Counsel, and such information shall be disclosed at

intervals determined by the Monitor.

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N. PRELIMINARY APPROVAL ORDER, CLASS NOTICE,
COURT JURISDICTION, AND TERMINATION OF THIS STIPULATION

I. As soon as practicable after execution of the Stipulation, Class Counsel shall
submit to the Court the Stipulation and a motion seeking entry of a preliminary approval order
that requests, among other things, the preliminary approval of the settlement set forth in this
Stipulation, the approval of the publication of a class notice, and the setting of a date for the
fairness hearing. Reasonable costs of publication of class notice shall be borne by the City.

2. On or after the Final Approval Date, the Parties will jointly request that the
District Court enter this Stipulation as an order and dismiss the above-captioned action with
prejudice, while retaining jurisdiction for purposes of review, enforcement, and ensuring
compliance with this Stipulation. The District Court shall also retain jurisdiction over this action
for the purpose of adopting any orders resulting from the Court-Ordered Monitoring and
enforcing compliance with any other terms and provisions of this Stipulation.

3. The Parties stipulate that, for the purposes of resolving Plaintiffs’ claims in the
above-captioned action, the duration of the second remedial phase in this action shall end when
the Court’s jurisdiction ends in the Floyd action, assuming substantial compliance in this action
as defined in Section B(15) of this Stipulation. The Parties also stipulate that if the City
continues to establish Substantial Compliance for two consecutive years after Court-Ordered
Monitoring ends, the Plaintiffs will not oppose a motion by the City to terminate the Court’s
jurisdiction.

4, The dismissal of the above-captioned action shall be with prejudice and without
costs, expenses, or fees in excess of the amount authorized by the Court or agreed upon by the

Parties in accordance with Section L herein.

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5. The terms of this Stipulation shall be a full, final, and complete resolution of this
action. Notwithstanding the foregoing, in the event that any appeals or petitions are taken or
filed regarding the Court’s approval of the settlement or entry of a final judgment in this action,
any and all obligations required to be undertaken pursuant to this Stipulation by Defendants are
stayed pending final determination of any such appeals or petitions. The Stipulation shall not
become effective nor shall the Defendants be required to undertake any obligations in the event
that the final determination of any such appeals or petitions results in a rejection of the settlement
as set forth in this Stipulation or a reversal of the order dismissing the action.

O. ENFORCEMENT AND DISPUTE RESOLUTION

I. At any time prior to the expiration of this Stipulation, should the Plaintiffs
determine that the City has failed to comply with any term(s) of this Stipulation the Plaintiffs
agree that the Class Counsel shall promptly provide written notifications of such non-compliance
to the Deputy Commissioner of Legal Matters of the NYPD and to the Office of the Corporation
Counsel. During the period of Court-Ordered Monitoring, Class Counsel shall also provide
written notice to the Monitor. All notices submitted pursuant to this section shall contain the
phrase “NOTICE OF NON-COMPLIANCE?” conspicuously placed on the top of the first page of
the notice and in a subject line of any emailed notification. If notification of non-compliance is
served by mail, Plaintiffs will write: “URGENT—TIME SENSITIVE” on any envelopes mailed
to the City containing such notice. The City shall substantively respond in writing to any such
notification within forty-five (45) days. The Parties agree to engage in good-faith discussions
and/or negotiations concerning the alleged non-compliance.

2. Should the City agree that it has not complied with a certain term or terms

specified in the notification provided by the Class Counsel, the Parties shall attempt to agree on a

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date or dates by which the City shall come into compliance. If the parties can agree on such date
or dates, the City shall come into compliance by that date or dates.

3. Should the City dispute the determination of non-compliance by the Plaintiffs or
if the Parties cannot agree on a date or dates by which the City will come into compliance after
good-faith negotiations between the Parties, the Class Counsel may apply to the Court for an
order directing specific performance of that term or terms. The Plaintiffs cannot make such an
application until at least fourteen (14) days after the City's written response, pursuant to section
O(1), to the Plaintiffs’ initial notification of non-compliance (subject to the Parties having
engaged in good-faith discussions and/or negotiations after the Plaintiffs’ notification of non-
compliance and during the 14-day period), unless the City’s alleged noncompliance presents a
substantial risk of significant irreparable harm that cannot be remedied after the 45-day period, in
which case the Plaintiffs may seek immediate judicial relief. The Plaintiffs agree not to seek
contempt in conjunction with any motion for specific performance made under this paragraph.

4, If the Court issues an order of specific performance pursuant to Paragraph 3 of
this section and the Plaintiffs believe that the City has failed to comply with that order, the Class
Counsel may seek immediate relief from the Court, including contempt.

5. The Parties reserve their right to appellate review of the Court’s decisions
concerning compliance under the Stipulation, as governed by applicable law.

6. The provisions of this section O are the exclusive means for enforcing the terms

of this Stipulation.

P. RELEASE

1. Except as indicated in Paragraph 3 of this section, the Stipulation, as of the

Effective Date, resolves in full any and all claims or rights of action against the Defendant and its

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predecessors, successors, or assignees together with past, present and future officials, employees,
representatives, and agents of the NYPD, and the City of New York (the “Released Persons”), by
any Plaintiffs, including all members of the Settlement Class and all Class Representatives,
contained in and/or arising from the Complaint in this action, and any other claims or rights of
action that Plaintiffs may have based upon or arising from any alleged policy, pattern or practice
of unconstitutionality in the trespass stop, question, frisk, arrest, search, and summons practices
of the NYPD, that could have been raised at this time in this action and for which the Named
Plaintiffs had standing to raise at the time of the Named Plaintiffs’ execution of their release in
this action, with the exception of the Named Plaintiffs’ individual damages claims for which
separate stipulations and releases will be required per Paragraph K(2) herein.

2. Except as indicated in Paragraph 3 of this section and Section LQ) of this
Stipulation, as of the Effective Date, Plaintiffs, including all members of the Settlement Class
and Class Representatives, hereby release and waive any and all claims and rights to pursue,
initiate, prosecute or commence any and all causes of action, claims, damages, awards, equitable,
legal and administrative relief, interest, demands or rights, including claims for attorneys’ fees,
costs and expenses, before any court, administrative agency or other tribunal, or to file any
complaint with regard to acts of commission or omission by the Released Persons related to,
connected with, arising out of, or based upon, the allegations contained in, or arising from, the
Complaint in this action for which the Named Plaintiffs had standing to raise at the time of the
Named Plaintiffs’ execution of their release in this action, with the exceptions of the Named
Plaintiffs’ individual damages claims, for which separate stipulations and releases will be

completed per Paragraph K(2) herein.

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3. This Stipulation, with the exception of the Named Plaintiffs, does not affect the
rights of other individual members of the Settlement Class to bring individual damages claims
against Defendant for what they believe is a violation of their rights, including any claims related
to, connected with, arising out of, or based upon the allegations contained in or arising from the
Complaint in this action.

4. This release will be, and may be, raised as a complete defense to and will
preclude any action or proceeding encompassed by the release of the Released Persons, subject

to Paragraph P(3), above.

Q. APPLICATION AND PARTIES BOUND

1. This Stipulation applies to, and is binding upon, the Plaintiffs and/or the members
of the Settlement Class, including the Named Plaintiffs, Class Counsel, Defendants, and the
City’s officers, agents, employees, successors, and assigns. This Stipulation is enforceable only
by the Plaintiffs and/or a member of the Settlement Class, including the Named Plaintiffs and
Defendants. The undersigned representatives of the Plaintiffs and/or the Settlement Class,
including the Named Plaintiffs, certify that they are authorized to enter into and consent to the
terms and conditions of the Stipulation and to execute and legally bind the Plaintiffs and/or the
members of the Settlement Class, including the Named Plaintiffs, to it. The undersigned
representatives of the Defendants certify that they are authorized to enter into and consent to the

terms and conditions of the Stipulation and to execute and legally bind the Defendants to it.

R. MODIFICATION OF THE SETTLEMENT STIPULATION AND ORDER

1. This Stipulation represents the entire agreement among the Parties, and no oral
agreement entered into at any time nor any written agreement entered into prior to the execution

of this Stipulation shall be deemed to exist, or to bind the Parties hereto, or to vary the terms and

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conditions contained herein, or to determine the meaning of any provisions herein. This
Stipulation can be modified only on the written consent of the Named Plaintiffs and the City, or

upon order of the Court.

S. NOTIFICATION OF PARTIES UNDER
THE SETTLEMENT STIPULATION AND ORDER

1. All notices contemplated by this Stipulation, other than notice to the Settlement
Class pursuant to Section N, shall be in writing and shall, unless expressly provided otherwise
herein, be delivered by hand delivery and by email, and shall be addressed as follows:

FOR THE PLAINTIFF CLASS:

Christopher Dunn

Molly Kovel

Jordan Wells

New York Civil Liberties Union
125 Broad Street, 19" Floor
New York, NY 10004

Tel. (212) 607-3300
cdunn@nyclu.org
mkovel@nyclu.org
jwells@nyclu.org

Johanna Steinberg

Bronx Defenders

360 East 161st Street

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johannas@bronxdefenders.org

Jeffrey J. Resetarits

Shearman & Sterling LLP

599 Lexington Avenue

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jJeffrey.resetarits@shearman.com

FOR DEFENDANTS:

Thomas Giovanni

Amatullah K. Booth

New York City Law Department
Office of the Corporation Counsel

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100 Chureh Street

New York, NY 10007

Tel. (212) 356-3500

Tel. (212) 356-3534
tgiovann@law.nyc.gov
abooth@law.nyc.gov

Deputy Commissioner for Legal Matters

New York City Police Department
1 Police Plaza

New York, NY 10038

2. In the event that any substitution in counsel designated to receive
communications under this Stipulation is made, all counsel shall be promptly informed,
and the name and contact information for such substitute counsel shall be promptly

provided.

T. NULLIFICATION

1. In the event the Court does not approve this Stipulation, the parties shall meet and

confer in good faith to determine whether to agree upon a modified Stipulation. If they are

unable to do so, this Stipulation shall become null and void, and this case shall be restored to the

  
 

 

 

 

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chary W. Cartdfl

Christophe# Dunn

Mariana Kovel Corporation Counsel of the City of New York
Jordan Wells Amatullah Booth

NEW YORK CIVIL LIBERTIES NEW YORK CITY LAW DEPARTMENT
UNION FOUNDATION 100 Church Street

125 Broad Street, 19th Floor New York, NY 10007

New York, NY 10004 Tel. (212) 356-3534

Tel. (212)607-3300 abooth@law.nyc.gov

cdunn@nyclu.org

mkovel@nyclu.org Attorney for Defendants

jwells@nyclu.org

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BRONX DEFENDERS

360 East 161st Street

Bronx, NY 10451
johannas@bronxdefenders.org

Bb Me

Foster Maer
LATINOJUSTICE/PRLDEF
99 Hudson Street, 14th Floor
New York, NY 10013

   

& STERLING LLP
bton Avenue

k, NY 10022

 
    
 

 

J. McGr¢gor Smyth, Jr.
NEW YORK LAWYERS FOR THE
PUBJAC INTEREST —

est 30th Street, 11th Floor
New York, NY 10001
Tel, (212) 224-4664

Attorneys for Plaintiffs

Dated: New York, New York
January (% , 2017

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SO ORDERED O}-
Dated: New York, New York

July 19, 2017 ANALISA TORRES
United States District Judge

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EXHIBIT A

 
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(COMPLETE ALL CAPTIONS)

 

 

 

 

 

 

STOP REPORT Pot. Serial No. ICAD No,
PD 383-151 (03-16) Date of Occ. Pet. Of Occ,
Tima Of Stop Period Of Observation Duration Of Stop

Prior To Stop
Address/intersection Or Cross Streets Of Stop

 

 

 

 

Cl Inside [fi Transit [1 Housing Type Of Location (Describe:)
0 Outside {CO Trespass Affidavit Program
Stop Was: C1 Self-tnitiated OBasedonRadioRun [1 Based on C/W on Scene
Officer in Uniform? If no, how Identified? Ci Shield 1D. Card

OYes ONo | C1 Verba!
Crime Suspected (e.g., Robbery, Burglary, Criminal Trespass, etc.)

 

 

 

 

 

Check All Factors That Led to Stop and Explain in the Narrative Section
C1 Concealing or Possessing a Weapon 1 Casing Victim or Location

 

 

 

 

 

 

(1 Engaging in a Drug Transaction (] Matches a Specific Suspect Description
Cl Acting as a Lookout (1 Proximity to the Scene of a Crime
Cl tdentified Crime Pattem (Pattern No. ) (1 Other (Describe in “Narrative” Section}
Name Of Person Stopped Nickname/Alias/Preferred Name [Date Of Birth
Address Apt. No. {Tel. No.
@ Identification. (1 Verbal 0 Photo 1.D. 0 Refused @

C1 Other (Describe)

Sex: Ol Male Race: White CJ Black O Hispanic White [4 Hispanic Black
Ol Female | ClAsian/Pacific slander [American Indian/Alaskan Native

Oi Middle Eastern/Southwest Asian

Age Height ~TWeight Hair ~~ JEyes pm

 

 

 

 

 

 

 

 

 

Other (Scars, Tattoos, Outer Garments, Etc.)

 

Did Officer Explain Reason For Stop? information Card Given to Person Stopped?
(Yes [INo . OlYes [No

If You Answered No to Either of the Previous Two Questions, Explain the Reasons in
the Narrative Section on the Rear Side.

Were Other Persons Stopped/ 1] Yes} Total No. Stopped [Pct. Serial Nos.

 

 

 

 

 

Questioned/Frisked? ONo
Did a Body-Worn Camera (BWC) Capture [J Yes |Body-Wom Camera was Wor by:
the Event in Whole or in Part No [( Reporting Officer [7 Another MOS

 

 

Body-Worn Camera Serial Number

 

Actions Taken to Stop and/or Detain Prior to Arrest © Verbal Command/instruction
O impact Weapon 0 Drawing/Pointing Firearm 1 Physical Force/Restraint
Ol Handcuff Suspect 00.C.Spray O CEW O Other (Describe)

 

 

Was Suspect Arrested? Offense Arrest No.
OlYes No

Was Summons Issued? Offense Summons No.
CyYes CINo

 

Demeanor of Person After Baing Stopped /Remarks Made by Person Stopped

 

 

@

 

 

 
 

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EXHIBIT B

 
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TRESPASS CRIMES - FACT SHEET

4y AND SUPPORTING DEPOSITION
gy” PD 351-144 (Rev. 03-16)

NOTE: This Form Must be Completed by the Officer Who Made the Observations that Led to the Defendant's Arrest.

 

 

Defendant's Name: Arrest No.:

1, , Shield No. , a New York City Police Officer/Detective
assigned to the (command), deposes and swears as follows:

On (date), at (time), at (location),

 

 

while on patrol inside this dwelling, an apartment building where people reside, | observed the defendant inside this
location as described below.

1. At this time, a sign stating in substance:

{1 No trespassing ) Tenants and their guests only
C1 No loitering C1 Anyone who remains unlawfully upon these premises will be prosecuted
0 Other:

 

was posted at/on (/ndicate location of sign)
For NYCHA arrests only: [f the defendant was arrested for presence in a restricted area (e.g. the roof), was there a
conspicuously posted sign at that location that prohibited entry in that specific restricted area? (Yes No

 

iF YES, where was that sign?

 

2, {01 D1ID C1 DID NOT observe the defendant entering the apartment bullding. IF YOU DID:

a) How did the defendant gain access to the building?

 

 

b) Did you observe the door to be locked? [] Yes [CI No

3. How long did you observe the defendant before you approached him or her?

 

4. Where was the defendant when he/she was first approached?
CiLobby (Ci Stairwell Ci Roof 1 RoofLanding Ol Basement ( Hallway

( Outdoors (describe) C] Other

5. Describe the factors that led you to approach and question the defendant:

 

 

 

 

 

6. Was the defendant asked any of the following questions? {f yes, please provide the substance of the defendant's
response(s) below. *

a) Do you live in the building? [1 Yes [4 No IF ASKED, response:
b) Do you have identification? [1 Yes [1 No IF ASKED, response :
c) Are you visiting someone in the building? [1 Yes [1 No IF ASKED, response:

d) Did the defendant provide a name of the person he or she was visiting? O Yes [ No IF YES, response:

 

 

 

) Did the defendant provide an apartment number? 11 Yes (] No IF YES, Apt No.
IF YES, did you go to the apartment the defendant indicated? 1 Yes [ No IF Yes, what happened?

 

 

 

* CPL § 710.30 notice is served for defendant's statement(s) which was/vere made at or about the time of the above incident

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f) Do you have business in the building? C1 Yes [1 No IF ASKED, response:

 

 

g) Did the defendant make any other statements not indicated In No. 6(a) - 6(f) above? L] Yes 1 No IF Yes,

the defendant also stated in substance:

 

 

 

 

NOTE: If you were unable to verify that the defendant was a tenant or an authorized guest, did you direct the
defendant to leave before the arrest? Cl Yes © No

7. The statements provided in No. 6 were made at approximately (time) at
(location) on (date).

| was present for the statements provided in No.6 above. 1 Yes No if you were not Present, provide the :
information of at least one officer who was present for such statements: t

 

Name: Shield No.

 

8. Were there any other facts beyond the statements listed in No. 6 that caused you to believe that the defendant was
not a tenant, guest or on business in the building prior to arrest?

 

 

9. The defendant did not have permission or authority to be inside the dwelling based on Information and belief the
source of which is as follows: (you musf choose one)

(11 observed the defendant trespass inside a New York City Housing Authority building. | am a member of the
New York City Police Department and as such | am an agent of this dwelling and defendant did not have
permission and authority to enter or remain in the area he/she was found.

C] The attached owner's/managing agent's affidavit, which was signed within the last six months, authorizes
members of the NYPD to act as an agent of the owner/managing agent of said dwelling pursuant to the
Trespass Affidavit Program (TAP). (Attach owner/managing agent affidavit).

10. Was arrest evidence or contraband recovered from the defendant? [] Yes No
a) If YES, describe the evidence and EXACTLY where the evidence was recovered. If It was recovered from the
defendant's person indicate where on their person:

 

 

b) Did you recover the evidence? C1 Yes 0 Nao. If NO, did you observe the recovery of the evidence? O Yes (1 No.
¢) Indicate officer who recovered evidence:

Rank/Name Shield No. Tax No.
d) Describe WHEN the evidence was recovered (e.g. before the arrest, during a frisk, incident to arrest).

 

 

e) At what location was the evidence recovered (e.g. af ihe scene, in the precinct/command)

 

 

False statements made herein by Deponent are punishable as a class A misdemeanor pursuant to section
210.45 of the Penal Law.

 

Deponent/Officer’s Signature Date

 

Print Rank/Full Name Tax No. Command

Verification by Desk Officer:

 

Desk Officer’s Signature Date

 

Print Rank/Full Name Tax No. Command

 

 
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EXHIBIT C

 
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DRAFT INTERIM ORDER

 

suBJEcT: REVISION TO PATROL GUIDE 212-59, “INTERIOR PATROL” AND
PATROL GUIDE 208-03, ARRESTS — “GENERAL PROCESSING”

 

DATE ISSUED: REFERENCE: NUMBER:

 

 

 

 

 

05-20-16 *P.G, 212-59 AND P.G. 208-03 DRAFT 11

 

 

1, In order to enhance the interior patrol of multiple dwelling buildings enrolled in the
Trespass Affidavit Program, Patrol Guide 212-59, “Interior Patrol” has been revised.

2. Therefore, effective immediately, Patrol Guide 212-59, “Interior Patrol” is SUSPENDED
and the following new procedure entitled, “Interior Patrol of Multiple Dwelling Buildings Enrolled in
the Trespass Affidavit Program” will be complied with:

PURPOSE To prevent, detect and take necessary enforcement action regarding illegal activity
occurring in lobbies, stairwells, interior hallways, rooftops, basements and other
common areas of multiple dwelling buildings enrolled in the Trespass Affidavit
Program (TAP) that are not owned by the New York City Housing Authority, in a
manner that respects the rights of TAP building residents and guests.

SCOPE Authorization for interior patrol, the tactically planned patrol of the common areas of
multiple dwelling buildings, is obtained through the Trespass Affidavit Program.
Members of the service shall conduct all inquiries, interactions, and enforcement
activities in Trespass Affidavit Program buildings with the courtesy,
professionalism, and respect to which all persons are entitled in their own homes.
This procedure must be applied consistent with Patrol Guide 212-11, “Investigative
Encounters: Requests for Information, Common Law Right of Inquiry and Level 3
Stops.” Patrol Guide 212-11 and the corresponding training materials establish the
parameters for all investigative encounters irrespective of location of occurrence.

PROCEDURE To conduct interior patrols in residential multiple dwelling buildings enrolled in

the Trespass Affidavit Program:
PLATOON 1, Ensure TRESPASS CRIMES ~ OWNER’S AFFIDAVIT(S) (PD651-
COMMANDER/ 051) or New York County District Attorney’s Supporting Affidavit(s) for
PATROL the scheduled locations(s) were signed by the Owner/Managing Agent
SUPERVISOR/ within the last six months.
ASSIGNED 2. Assign teams of two or more uniformed members of the service to conduct
SUPERVISOR interior patrol at designated times and locations.
a. Schedule interior patrols based on times when illegal activities are
prevalent.
3. Consider the appropriate number of teams necessary to perform a particular
interior patrol.
a. The number of uniformed members that are required to conduct a

particular interior patrol assignment should be based on the size of
the building, the number and location of exits, and the nature of the
crimes being addressed.

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PLATOON
COMMANDER/
PATROL
SUPERVISOR/
ASSIGNED
SUPERVISOR
(continued)

UNIFORMED
MEMBER OF
THE SERVICE

10.

il.

Instruct uniformed members performing interior patrol that, absent exigent
circumstances, two or more uniformed members must remain together at all
times.

Ensure all interior patrols are conducted in an appropriate manner with
special attention to:

Proper tactics

Required equipment (.g., serviceable flashlight, O.C. spray, etc.)

Radio transmissions

Proper documentation (e.g., ACTIVITY LOG [PD112-145] entry,
STOP REPORT [PD383-151], WHAT IS A STOP? [PD383-153]
informational card, etc.).

Ro SY

Respond to location at designated time and coordinate activities with other

assigned uniformed members.

Notify Communications Section radio dispatcher utilizing radio code

10-751, and make an ACTIVITY LOG entry of the time and street

address upon entering the building.

Inspect front, rear and other exterior doors, and the interior of the lobby.

a. Determine whether doors are secured.

Document in ACTIVITY LOG whether signs prohibiting trespassing are

legible and prominently displayed in areas where persons entering the

building can readily see them.

a. If signs are missing, illegible or defaced, notify the crime
prevention officer.

Proceed to top floor of building by elevator, if operable, otherwise by using

the stairs.

a. Patrol the roof, roof landing, elevator rooms, and any other
accessible installations.

b. Patrol each floor, staircase and hallway within the building from
the top floor to the ground floor

Cc. Patrol all accessible basement areas.

Be alert for persons who may be engaged in criminal activity.

a. Conduct all investigative encounters in accordance with P.G. 2/2-

11, “Investigative Encounters: Requests for Information, Common
Law Right of Inquiry and Level 3 Stops,” and, if applicable, with the
procedures for trespass investigations as set forth in step “12,”
below.

b. If a person is stopped, a STOP REPORT shall be prepared
pursuant to P.G. 212-11, “Investigative Encounters: Requests for
Information, Common Law Right of Inquiry and Level 3 Stops,” and
an ACTIVITY LOG entry shall be made to document the
encounter,

(1) Check the appropriate box indicating the stop is related to a
Trespass Affidavit Program building.

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UNIFORMED c. Take police action pursuant to P.G. 208-01, “Law of Arrest” or

MEMBER OF Patrol Guide Series 209, “Summonses,” only if there is probable

THE SERVICE cause to believe that a person has committed a felony or

(continued) misdemeanor, or the person committed a violation in the officer’s
presence.

NOTE Mere presence in or near a building enrolled in the Trespass Affidavit Program does

not provide a basis to approach and conduct an investigative encounter, nor does it
establish reasonable suspicion for a stop. When approaching a person based only on an
objective credible reason (Level 1 Request for Information), members are prohibited
Jrom requesting consent to search the person.

12. Trespass Investigation: Be alert for persons who may be engaged in Criminal
Trespass.

a.

Level 1 Request for Information: If there is an objective credible
reason to approach such a person based on observed behavior or
other credible information, a member of the service may approach
and ask in a non — threatening and non — accusatory manner:

(1) Ifhe or she lives in the building

(2) — Ifhe or she is visiting someone in the building

(3) — Ifhe or she has business in the building.

Level 2 Common Law Right of Inquiry: If, based on the answers to
questions in the initial encounter and/or observed behavior, there is
a founded suspicion of Criminal Trespass, take reasonable measures
to verify the person’s authorization to be in the building.

NOTE Do not use a tone or take steps that would create a situation where a reasonable person
would not feel free to leave when there is less than reasonable suspicion that the person is

a trespasser.

C.

Level 3 Terry Stop: Stop a person in accordance with P.G. 212-11,

“Investigative Encounters: Requests for Information, Common Law

Right of Inquiry and Level 3 Stops,” and take reasonable measures

to investigate only if there is reasonable suspicion to believe that

the person has committed, is committing, or is about to commit

Criminal Trespass. Such measures include, but are not limited to,

the following:

(1) | Temporarily detaining the person while another uniformed
member visits the building resident whom the person
claims to be visiting; and/or

(2) Requiring the person to accompany uniformed member to
the apartment of the building resident whom the person
claims to be visiting,

NOTE Merely passing through a door that has a broken lock or that has been propped open
does not, alone, constitute reasonable suspicion of criminal activity.

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UNIFORMED
MEMBER OF
THE SERVICE
(continued)

NOTE

DESK OFFICER

d. Take police action pursuant to P.G. 208-01, “Law of Arrest” or
Patrol Guide Series 209, “Summonses,” only if there is probable
cause to believe that the person committed Trespass. A reasonable
investigation is ordinarily necessary to determine whether
probable cause exists.

(1) Make ACTIVITY LOG entry describing the details of
arrest/summons.

(2) Document investigative steps taken prior to making the arrest or
issuing the summons including the factors used to determine
that the person knowingly entered or remained unlawfully
particularly if signs are not present or visible.

(3) Utilize Department-issued smartphone to photograph sign(s)
prohibiting trespassing or document the warning and the location
in ACTIVITY LOG.

Even if there is probable cause to arrest a person for trespassing, officers may exercise
their discretion to refrain from arresting that person, and instead instruct that person to
leave under appropriate circumstances.

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e. In all cases when an arrest is made for Criminal Trespass, the
arresting officer must:
(1) Prepare a TRESPASS CRIMES — FACT SHEET (PD351-
144) and submit to the Desk Officer for review
(2) Prepare a STOP REPORT, if appropriate
GB) Submit the TRESPASS CRIMES — OWNER’S AFFIDAVIT
or New York County District Attorney’s Supporting Affidavit, as
appropmiate, for the building to the desk officer.
Notify Communications Section radio dispatcher upon exiting the
building and make an ACTIVITY LOG entry indicating the time the
interior patrol was completed and any conditions noted.

Ensure that the completed TRESPASS CRIMES ~- FACT SHEET and

the TRESPASS CRIMES — OWNER’S AFFIDAVIT or New York

County District Attorney’s Supporting Affidavit, as appropriate, are

included in the arrest package for all arrests that include a charge of

Criminal Trespass.

Review the TRESPASS CRIMES — FACT SHEET for accuracy and

completeness and endorse in the appropriate space on the form.

a. Have TRESPASS CRIMES — FACT SHEET photocopied.

b. Return original TRESPASS CRIMES — FACT SHEET to the
arresting officer for inclusion in the arrest package.

Have photocopies of TRESPASS CRIMES — FACT SHEETS placed in

chronological order in a binder and maintained at the desk.

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ADDITIONAL During the course of an interior patrol, members of the service are likely to encounter

DATA other persons in the building. While detecting trespassers inside buildings enrolled in
the Trespass Affidavit Program is an important public safety function, it is equally
critical that members of the service treat residents and their guests with courtesy,
professionalism and respect at all times.

Ifa member of the service has reason to seek to determine if a person is authorized to be
in the building, the member may ask for the person's voluntary cooperation. When
feasible and consistent with safety, advise the person that the purpose of the interior
patrol is to keep the building safe and ensure that only tenants and their invited guests
are within the building, and advise the person that he or she is free to leave (unless the
person is under arrest or detained in a Level 3 stop). A person’s refusal or inability to
produce identification or provide information does not elevate the level of the encounter.
However, if the individual refuses or is unable to explain his or her presence in the
building, the member may instruct the person that he or she must leave the building or
be subject to arrest for Trespass.

The TRESPASS CRIMES - OWNER’S AFFIDAVIT (PD651-051) will be utilized for
Department Trespass Affidavit Program buildings in the Bronx, Brooklyn, Staten Island
and Queens. The New York County District Attorney’s Office manages a Trespass
Affidavit Program in Manhattan and utilizes its own supporting affidavits.

The TRESPASS CRIMES — FACT SHEET (PD351-144) will be prepared in every
instance, including Manhattan, where a uniformed member of the service effects a Trespass
arrest in a building participating in a Trespass Affidavit Program.

Law of Arrest (P.G. 208-01)
ULAR ES Arrests — General Processing (P.G. 208-03)
Investigative Encounters: Requests for Information, Common Law Right of Inquiry and
Level 3 Stops (P.G. 212-11)
Interior Patrol of Housing Authority Buildings (P.G. 212-60)
Trespass Affidavit Program (A.G, 303-27)
Summonses (P.G. 209 Series)

ACTIVITY LOG (PD112-145)

FORMS AND

REPORTS STOP REPORT (PD383-151)
WHAT IS A STOP? (PD383-153)
TRESPASS CRIMES ~ OWNER’S AFFIDAVIT (PD651-051)
TRESPASS CRIMES - FACT SHEET (PD351-144)

3. Patrol Guide 208-03, “Arrests —- General Processing” is amended as follows:

a. ADD new subdivision “h.” following step “23,” opposite actor “ARRESTING
OFFICER,” on page “6” to read:

“ARRESTING h. TRESPASS CRIMES — FACT SHEET (PD351-144), if
OFFICER appropriate.
(1) Prepare the form if the arrest includes a charge
for Trespass or Criminal Trespass.”

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b. REVISE “FORMS AND REPORTS” on page “13” to read:

“FORMS AND ACTIVITY LOG (PD1I2-145)
REPORTS ARREST REPORT - SUPPLEMENT (PD244-157)

ARREST DOCUMENTATION CHECKLIST (PD240-010)
COMPLAINT REPORT WORKSHEET (PD313-152A)

DAT ARREST PACKAGE (PD260-123)

DESK APPEARANCE TICKET INVESTIGATION (PD360-081)
JUVENILE ARREST INVESTIGATION/PROBATION INTAKE REPORT
WORKSHEET (PD277-151A)

MEDICAL TREATMENT OF PRISONER (PD244-150)

MIRANDA WARNINGS FOR JUVENILE INTERROGATIONS (PD244-1413)
MISSING — UNIDENTIFIED PERSON REPORT (PD336-151)

ON-LINE BOOKING SYSTEM ARREST WORKSHEET (PD244-159)
PRISONER PEDIGREE CARD (PD244-092)

PRISONER TRANSPORT DISPATCH (PD171-132)

PROPERTY CLERK INVOICE (PD521-141)

PROPERTY CLERK INVOICE WORKSHEET (PD521-141A)

REQUEST FOR LABORATORY EXAMINATION REPORT (PD521-168)
SUPPORTING DEPOSITION (PD244-060)

TRESPASS CRIMES — FACT SHEET (PD351-144)
UNUSUAL OCCURRENCE REPORT (PD370-152)
Omniform Complaint Revision”

4. REVISE references to Patrol Guide 212-59, “Interior Patrol” in Patrol Guide 212-11,
212-60, Administrative Guide 303-27 and wherever else it appears in the Department Manual to read:

“Patrol Guide 212-59, ‘Interior Patrol of Multiple Dwelling Buildings Enrolled in
the Trespass Affidavit Program”

5. Upon publication, this Interim Order has been incorporated into the On-Line Patrol Guide
and the On-Line Administrative Guide.

6. Any provisions of the Department Manual or other Department directive in conflict with
the contents of this Order are suspended.

BY DIRECTION OF THE POLICE COMMISSIONER

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EXHIBIT D

 
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DRAFT INTERIM ORDER

 

suBsECT. REVISION TO ADMINISTRATIVE GUIDE 303-27, “TRESPASS
AFFIDAVIT PROGRAM” AND PATROL GUIDE 202-26, “CRIME
PREVENTION OFFICER”

 

 

DATE ISSUED: REFERENCE: NUMBER:

 

08-04-16 *A.G. 303-27 AND P.G. 202-26 DRAFT 3

 

 

 

 

 

1. In order to enhance the effectiveness and documentation of interior patrols conducted in
multiple dwelling buildings that participate in the Department’s Trespass Affidavit Program A”:
Administrative Guide 303-27, “Trespass Affidavit Program” has been revised.
>ASS CRIMES - FACT SHEET (PD351-144) seus fe
ES — FACT SHEET AND SUPPORTING DEPOSITION ( L) and will be repared
in n every instance where a uniformed member of the service effects i an n arrest for trespass in or arour
building participating in the Trespass Affidavit Program. Uniformed members are reminded that the
TRESPASS CRIMES - OWNER’S AFFIDAVIT (PD651-051) will continue to be utilized for TAP
buildings in the Bronx, Brooklyn, Staten Island and Queens (the New York County District Attorney's
Office manages a Trespass Affidavit Program in Manhattan and utilizes its own supporting affidavits).
Commands may not alter the content of these forms for any purpose and may not use any form other
than TRESPASS CRIMES - OWNER’S AFFIDAVIT to enroll a building in the Trespass Affidavit
Program. Any request from a District Attorney's Office to make changes to either of these forms must
first be referred to the Legal Bureau.

     

   

 
 

 

2. Therefore, effective immediately, Administrative Guide 303-27, “Trespass Affidavit
Program” is SUSPENDED and the following procedure will be complied with:

PURPOSE To obtain authorization from a multiple dwelling building’s owner/authorized
agent to conduct interior patrols, in buildings that are not owned by the New
York City Housing Authority.

SCOPE Authorization for interior patrol, the tactically planned patrol of the interior
hallways, stairways and rooftops of multiple dwelling buildings is obtained
through the Department’s Trespass Affidavit Program. Patrolling multiple
dwelling buildings for criminal activity, including trespassing under the Trespass
Affidavit Program, is a valuable problem-solving tool, as well as an important
component of the Department's crime reduction strategy.

PROCEDURE When recent incidents, including but not limited to, criminal activity and/or
complaints at or near a residential multiple dwelling building within the last 12
months indicate that the Department's Trespass Affidavit Program would be

useful:
CRIME 1. Confer with members of the community and analyze current crime trends
PREVENTION to identify multiple dwelling buildings appropriate for the Trespass
OFFICER Affidavit Program.

2. Confer with the commanding officer to ensure that the buildings enrolled

in the Trespass Affidavit Program can be patrolled with sufficient
frequency to reduce criminal activity and/or address community
complaints at these residential multiple dwelling buildings.

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CRIME
PREVENTION
OFFICER
(continued)

NOTE

NOTE

COMMANDING
OFFICER

3. Obtain authorization, except in Manhattan, from the multiple dwelling building’s
owner/authorized agent to participate in the Trespass Affidavit Program.

a. Have the owner/authorized agent sign a TRESPASS CRIMES -
OWNER’S AFFIDAVIT (PD651-051) which authorizes the
Department to conduct interior patrols for a period of six months.

b. Ensure that TRESPASS CRIMES — OWNER’S AFFIDAVIT(S)
or New York County District Attorney Trespass Affidavits, as
appropriate, are properly signed and permit the arrest of persons in
the building who are not:

(1) — Residents; OR
(2) Guests; OR
(3) Otherwise authorized to be in the building.

c. Participating owners/authorized agents must post signs informing
all persons entering, in substance, that trespassing is prohibited.
d. The signs should be posted in areas where persons entering the

building can readily observe them. Suggested locations for these
signs include, but are not limited to, the vestibule entrance,
vestibule, above the elevator, courtyard, roof, any restricted area
and other common areas.

The crime prevention officer will notify the building’s owner/authorized agent if it is
reported that the signs are missing, illegible or defaced.

e. Obtain from the owner/authorized agent the keys to the building.

4. Prior to the expiration of a building’s six-month enrollment in the
program, confer with members of the community and analyze current
crime trends to determine if the condition has been corrected or if a
continuation of interior patrols in the building is warranted.

5. If additional interior patrols are necessary, recommend to the commanding
officer that the building be enrolled for another six-month period.
6. Evaluate any requests to renew enrollment and determine whether the

building would benefit from six more months of interior patrols before the
TRESPASS CRIMES - OWNER’S AFFIDAVIT or New York County
District Attorney Trespass Affidavit, as appropriate, expires.

Prior to the expiration of a building's first six months in the program, the command’s
crime prevention officer or another member of service as designated by the commanding
officer, will evaluate whether to renew a building’s participation in the program for an
additional six months. This determination should be based on recent incidents, including
but not limited to, criminal activity and complaints during the preceding six month
period.

7. Prior to the expiration of a building’s second consecutive six month
enrollment in the Trespass Affidavit Program, determine whether to
renew the building’s participation in the program for another six months,
based on recent incidents, including but not limited to, criminal activity
and complaints during the preceding six month period.

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COMMANDING
OFFICER
(continued)

PATROL
BOROUGH
COMMANDER

CHIEF OF
PATROL

CRIME
PREVENTION
OFFICER

ADDITIONAL
DATA

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17.

a. Submit a report on Typed Letterhead notifying the borough
commander whenever a determination is made to continue
enrollment beyond one year indicating the basis for the decision.

Direct the crime prevention officer or other designated member of the

service to complete the renewal of participation in the Trespass Affidavit

Program by fulfilling the requirements of step “3.”

Whenever a building is not renewed for participation in the TAP program,

have the building owner/authorized agent instructed to notify the residents

in writing.

Submit a quarterly report on Typed Letterhead to the Chief of Patrol

through channels, identifying those buildings that were evaluated and the

final determination for each building.

Review the request to renew enrollment of building in the program
beyond one year.
Make a recommendation to the Chief of Patrol.

Review requests to renew participation in the Trespass Affidavit Program
for any building beyond one year.

Maintain copies of TRESPASS CRIMES — OWNER’S AFFIDAVIT(S)
or New York Country District Attorney’s supporting affidavits, as
appropriate.

Maintain a current list of Trespass Affidavit Program buildings containing
the following information:

a. Address and description of location

b. Nature of problem(s) or condition(s)

c. Times when illegal activity is prevalent
d. The expiration date for the affidavit.

Ensure that the following are accessible to the desk officer at all times:

a. TRESPASS CRIMES — OWNER’S AFFIDAVIT(S) or New York
County District Attorney S rting affidavits. as priate
. SHEET A} PORTING

   

  
 

b.

C. List of current Trespass Affidavit Program buildings.

Contact the Legal Bureau for approval if a District Attorney’s Office
makes a request to modify either the TRESPASS CRIMES - OWNER’S
AFFIDAVIT or the TRESPASS CRIMES - FACT SHEET AND
SUPPORTING DEPOSI .

  
 

Commanding officers may utilize precinct community affairs officers and/or neighborhood
coordination officers (NCOs) to assist in identifying buildings that are appropriate for the
Trespass Affidavit Program. Special care should be taken to enroll multiple dwelling
buildings that have both demonstrated a specific need for interior patrol based on
complaints and an owner/authorized agent committed to providing secured access to the
building and willing to comply with the requirements of the program.

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ADDITIONAL The Community Affairs Bureau, Crime Prevention Division will offer resources (e.g.,
DATA organize tenant patrol, physical survey of building, etc.) to eradicate existing illegal
(continued) activity and deterrence from future occurrences.

The TRESPASS CRIMES — OWNER’S AFFIDAVIT (PD651-051) will be utilized for
Department Trespass Affidavit Program buildings in the Bronx, Brooklyn, Staten Island
and Queens. The New York County District Attorney's Office manages a Trespass
Affidavit Program in Manhattan and utilizes its own supporting affidavits. Therefore, to
enroll a multiple dwelling building in Manhattan, members of the service should refer
the owner/authorized agent to the New York County District Attorney’s Community
Affairs Unit.

The TRESPASS CRIMES - FACT SHEET AND SUPPORTING DEPOSITION
(PD331-144) will be prepared in every instance where a uniformed member of the
service effects a trespass arrest in or around any building participating in a Trespass
Affidavit Program.

 

  

For Trespass Affidavit Program buildings in New York County, the crime prevention
officer will act as liaison to the New York County District Attorney's Community Affairs
Unit. All Department and New York County District Attorney Trespass Affidavit
Program affidavits expire six months from the date the owner/authorized agent signed

  

 

 

 

affidavit.
RELATED Interior Patrol of Multiple Dwelling Buildings Enrolled in the Trespass Affidavit
PROCEDURES Program (P.G. 212-59)
FORMS AND TRESPASS CRIMES - OWNER'S AFFIDAVIT (PD651-051)
REPORTS TRESPASS CRIMES - FACT SHEET AND SUPPORTING DEPOSITION (PD351-
144)
3. Patrol Guide 202-26, Crime Prevention Officer” is amended as follows:
a. ADD new step “19,” opposite actor “CRIME PREVENTION OFFICER,” on page “2”
to read:
“CRIME 19. Administer the Trespass Affidavit Program _in
PREVENTION accordance with Administrative Guide 303-27,
OFFICER ‘Trespass Affidavit Program’.”
4, Commands will requisition the following revised form through the Quartermaster Section

using the following information:

INDEX NUMBER PD NUMBER
XXXX PD351-144 [Rev. XX-XX]

 

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5. Effective immediately, existing copies of the TRESPASS CRIMES — FACT SHEET
(PD351-144) are OBSOLETE and should be destroyed upon receiving the revised Department form.

6. Upon publication, this Interim Order has been incorporated into the On-Line
Administrative Guide and On-Line Patrol Guide.

7. Any provisions of the Department Manual or any other Department directive in conflict
with the contents of this Order are suspended.

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